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12 NATERA, INC.

13                             UNITED STATES DISTRICT COURT

14                          NORTHERN DISTRICT OF CALIFORNIA,

15                                 SAN FRANCISCO DIVISION

16

17 GUARDANT HEALTH, INC.                       CASE NO. 3:21-CV-04062-EMC

18               Plaintiff and                 NATERA, INC’S REQUEST FOR LEAVE
                 Counterclaim-Defendant,       TO FILE A MOTION FOR
19                                             RECONSIDERATION
          vs.
20                                             FILED UNDER SEAL
     NATERA, INC.
21

22               Defendant and
                 Counterclaim-Plaintiff.
23

24

25

26

27

28

                                                                         Case No. 3:21-cv-04062
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 1          Pursuant to Local Rule 7-9(a), Natera respectfully seeks leave to request reconsideration of

 2 portions the Court’s Orders of (1) March 6, 2024 (Dkt. 493) (“COBRA Order”) and (2) March 22,

 3 2023 (Dkt. 326) (“SJ Order”) based upon recent revelation of material evidence. As part of COBRA

 4 discovery, third party NRG Oncology (“NRG”) produced documents on July 9, 2024 and August

 5 15, 2024 that show Guardant knew its “CHIP filter” did not work as claimed in Guardant’s

 6 Complaint: it did not prevent false positive results from non-cancerous CHIP mutations, and was

 7 thus unable to filter out biological noise—exactly as Natera had stated in 2021.

 8                                          INTRODUCTION

 9          Clonal hematopoiesis is an aging-related phenomenon in which blood cell DNA

10 spontaneously mutates. It is referred to as “CHIP.” A risk for blood assays that seek to detect the

11 return of colorectal cancer is that biological noise such as CHIP mutations may be flagged as tumor

12 DNA, leading to “false positives.” In 2021, Natera published a White Paper describing the

13 differences between tumor-informed and tumor-naïve assays in which it made the following

14 statements: “Specificity is impacted by biological noise from germline and CHIP mutations” and

15 “[w]ithout the genomic information for each primary tumor, tumor-naïve assays are unable to filter

16 out background biological noise from CHIP ….”

17          Guardant accused this statement of being literally false under the Lanham Act specifically

18 because Guardant’s tumor-naïve assay included software called a “CHIP filter” designed to detect

19 CHIP mutations, leading to—according to Guardant in its complaint—100% specificity. An assay

20 with 100% specificity means no false positives. This Court issued a summary judgment order

21 regarding “Reveal’s CHIP filter capabilities” and ruled there was a genuine issue for trial as to “how

22 well [Reveal’s CHIP filter] worked.” Dkt. 326 at 26.

23          As this Court knows, NRG—sponsors of the COBRA trial—terminated the trial based on its

24 interim results. The sponsors informed doctors that the termination was due to higher-than-expected

25 rates of false positives. COBRA used Guardant’s Reveal assay. In seeking to exclude COBRA

26 from trial, Guardant’s counsel filed a letter asserting that the COBRA results had nothing to do with

27 its assay’s “CHIP filter.” Dkt. 484. On March 6, 2024, this Court—apparently relying on counsel’s

28 representations and the lack of documents to the contrary—ruled that “the COBRA study does not

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 1 bear on whether Reveal uses a CHIP filter or whether the CHIP filter improves Reveal’s specificity

 2 or sensitivity.” Dkt. 493 at 10.

 3          On July 9, 2024 and August 15, 2024, however, NRG produced documents demonstrating

 4 that Guardant misled Natera and this Court. The documents disclosed that in

 5

 6

 7                                             Guardant never provided                        to Natera,

 8 but in connection with the COBRA trial provided it to NRG—which produced it to Natera.

 9 Guardant also told NRG that                                                       —not 100% as set

10 forth in the complaint. Furthermore, in an effort explain the poor interim results from its assay and

11 persuade the NRG to continue the COBRA trial, Guardant

12

13                                                                                            Guardant
14 addressed specificity with NRG because of the apparent false positives in the COBRA study.

15          This information is material to this Court’s orders on specificity and COBRA. Indeed, the
16 new facts render the Court’s decisions on CHIP incorrect. These specificity revelations should have

17 been disclosed by Guardant long before. Guardant was prepared to go to trial in November of 2023

18 and March of 2024 as if its assay had 100% specificity and its CHIP filter was unchanged, and as if

19 false positives were not a central issue to the COBRA termination. None of that was true. Guardant

20                                                       exactly because of false positives from CHIP

21 mutations, and told NRG that fact—but not Natera or this Court. Natera requests leave to file for

22 reconsideration so that it can address this newly discovered information.

23                                           BACKGROUND

24          On May 3, 2021, Natera issued a technical paper comparing tumor-informed and tumor-

25 naïve approaches for early-stage molecular residual disease (“MRD”) detection (“White Paper”).

26 Ex. 1 (Trial Ex. 120, NATER_350767). The White Paper, which did not mention Guardant Reveal

27 by name, included the following statement about the impact of biological noise, such as CHIP, on

28 assay specificity:

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 6           On May 27, 2021, Guardant filed its false advertising complaint. Dkt. 1. Guardant asserted

 7 that the White Paper statement was “false” because Reveal has bioinformatic software and its

 8 specificity is 100% as a result of the “CHIP filter”:

 9                  But this is false; Reveal can and does filter out CHIP background noise
                    bioinformatically. In fact, data publicly presented in 2018 on a
10                  prototype of the Reveal assay showed 100% specificity with
                    incorporation of the CHIP filter.
11
     Id. at ¶ 32.
12
             Throughout discovery, Guardant maintained that no updates were made to the commercial
13
     Reveal assay. Natera’s Interrogatory No. 14 requested that Guardant “[i]dentify all versions of the
14
     genomic and/or epigenomic calling pipeline(s) and/or algorithm(s) ever used as part of Reveal.” Ex.
15
     2 (Guardant 4/8/22 Response to Rog No. 14). In response, Guardant stated:
16

17

18

19

20

21

22

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25

26
     Id. at 19 (emphasis added). Guardant never updated its response.
27
             On October 14, 2022, Natera filed for summary judgment relating to Guardant’s Lanham
28
     Act claims, including the literal falsity of the White Paper claims directed to CHIP mutations. Dkt.

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 1 220. The Court denied Natera’s motion with respect to “Reveal’s CHIP filter capabilities” stating:

 2                   “There remains a genuine dispute of material [fact] as to whether
                     Guardant’s CHIP filter existed and how well it worked.”
 3
     Dkt. 326 at 26. On June 8, 2023, Guardant filed its pretrial conference statement reiterating the
 4
     summary judgment decision about CHIP filters as an issue for trial—then scheduled for November
 5
     2023. Dkt. 366-4 at 6-7.
 6
            On January 31, 2024, Natera served the supplemental expert report of oncologist Dr. Howard
 7
     Hochster, prompting Guardant to file a motion to strike. Dkt. 447-2. Dr. Hochster’s supplemental
 8
     report addressed the COBRA trial termination, the public presentation of those results at a
 9
     conference on January 20, 2024, and Dr. Hochster’s opinion that the COBRA termination confirmed
10
     his opinion that tumor-naïve assays like Reveal were more prone to false positives. Id.
11
            NRG’s August 30, 2023 letter to doctors whose patients were enrolled in COBRA stated that
12
     the reason for the study’s closure was false positives from the Reveal assay:
13
                     We have been informed by our diagnostic partner that a greater than
14                   anticipated number of participants may have been ‘false positives”, i.e.,
15                   designated ctDNA+ incorrectly. While this was a recognized potential
                     risk of the study, this rate is higher than we had expected. Thus, a subset
16                   of COBRA patients randomized to Group 2 who tested positive for
                     ctDNA received chemotherapy based on what is potentially a “false
17                   positive” result. The higher-than-expected “false positive” rate
                     resulted in the trial not passing the interim analysis and, as such, the
18                   trial will be closed to accrual.
19
     Dkt. 447-2 at Hochster Exhibit 7 (emphasis added). In real world terms, this means some patients
20
     may have received unnecessary chemotherapy based on “false positive” results from Guardant’s
21
     Reveal assay.
22
            Guardant sought to exclude COBRA from trial in this case then scheduled for March 11,
23
     2024. Guardant’s counsel argued that COBRA was “irrelevant to any remaining claim in this false
24
     advertising case.” Dkt. 447 at 4. During the COBRA hearing, Guardant feigned ignorance as to the
25
     details of the COBRA trial and claimed that it would need extensive discovery related to COBRA
26
     because “[COBRA] is not a published study, and the data that’s typically available that would allow
27
     [Guardant] to respond, allow [Guardant] to analyze the underlying data, is not currently available
28
     to Guardant.” Ex. 3 (Feb. 21, 2024 Hr’g Tr.) at 5:7-11. That was false.
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 1          On March 1, 2024, in an effort to exclude COBRA, Guardant’s counsel filed a letter with

 2 explicit representations that COBRA was irrelevant to any CHIP filter issue in the case. Dkt. 484.

 3 Counsel referred to the SJ Order as “law of this case” and represented to the Court that the “[i]nterim

 4 data from COBRA in 2023 will not make the answer to the factual question at issue [for trial] more

 5 or less likely to be true.” Dkt. 484 at 3-4; id. at 3 (quoting Dkt. 326 (SJ Order – “whether Guardant’s

 6 CHIP filter existed and how well it worked”).

 7          On March 6, 2024, this Court issued an order permitting limited discovery relating to the

 8 COBRA trial. Dkt. 493. However, in relying on Guardant’s representations to the Court regarding

 9 its CHIP filter, the Court stated that “the COBRA study does not bear on whether Reveal uses a

10 CHIP filter or whether the CHIP filter improves Reveal’s specificity or sensitivity. Thus, the

11 COBRA study is irrelevant to Natera’s defense against Guardant’s specific challenge and is not

12 admissible for this purpose.” Id. at 10. As a result of the COBRA discovery, the Court ultimately

13 set the trial date for November 12, 2024. Dkt. 471; Dkt. 501; Dkt. 557.

14          COBRA discovery from NRG has fundamentally altered this case—specifically with respect

15 to the capabilities of Guardant’s “CHIP filter” software, and its assertion in its complaint of 100%

16 specificity. The following documents are exemplary:

17          May 30, 2023                     (Ex. 4). NRG produced this document on August 15, 2024.
18 It is

19

20

21

22          Guardant never disclosed to Natera that it

23                            Indeed, Guardant seeks damages beyond January 2023 and maintains that

24 the sales of the new version of the assay is germane to the amount of corrective advertising to which

25 it is entitled. Dkt. 603 at 1-2.

26          June 22, 2023 Email to NRG Oncology (Ex. 5). After Natera issued a subpoena to NRG,

27 Guardant produced this document on June 5, 2024, and NRG subsequently produced this same

28 document on July 9, 2024. It is an email from a Guardant scientific officer to NRG concerning the

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 1 interim COBRA results. It notes that

 2

 3                                    Id. The email goes on,

 4

 5                                                                      Id.

 6         In addition,

 7             Id. (

 8

 9                                           ) (emphasis added).

10                                                                                          Id.; see also
11 Ex. 6 (NRG-000087) (                                                                         ).
12         July 26, 2023 Letter to NRG Oncology (Ex. 7). NRG produced this document on July 9,
13 2024. This formal letter from Guardant to NRG includes a

14                        and warns that NRG must keep the correspondence confidential. The letter
15 reveals that the                       was verified on January 25, 2023 and
16 of the assay. Ex. 7 at 2. The attached report discloses that

17

18            Id. at 3. The report further discloses that
19                                                                                  Id. at 4.

20         Guardant’s Chief Medical Officer confirmed at deposition

21

22

23                                     Ex. 8 (Eagle Tr.) 153:23-154:3, 154:11-20.

24         The NRG documents also revealed that Guardant

25                     (Ex. 9 (NRG-N-001369) at -1370),

26      (Ex. 5 (GHI00063336)), and

27                                                                            (Ex. 10 (GHI00063364)).

28

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 1                                         LEGAL STANDARD

 2          A party must obtain leave to file a motion for reconsideration. Civil L.R. 7-9(a). Such a

 3 motion is appropriate when brought with reasonable diligence and, as applicable here: (1) that at the

 4 time of the motion for leave, a material difference in fact or law exists from that which was presented

 5 to the Court before entry of the interlocutory order for which reconsideration is sought. The party

 6 also must show that in the exercise of reasonable diligence the party applying for reconsideration

 7 did not know such fact or law at the time of the interlocutory order; or (2) the emergence of new

 8 material facts or a change of law occurring after the time of such order. Civil L.R. 7-9(a).

 9                        LEAVE FOR RECONSIDERATION IS WARRANTED

10 I.       NEW MATERIAL FACTS HAVE EMERGED WARRANTING
            RECONSIDERATION OF THE COURT’S PRIOR ORDERS
11
            It is a material fact to the Court’s March 6, 2024 COBRA Order that when COBRA interim
12
     results came in with “higher than expected false positives,” Guardant told NRG that
13

14
             Ex. 5. Indeed, Guardant shared its                                    that showed Guardant
15

16
             Ex. 4 This information directly contradicts the Court’s conclusion, based on Guardant’s
17
     representations, that “the COBRA study does not bear on whether Reveal uses a CHIP filter or
18
     whether the CHIP filter improves Reveal’s specificity or sensitivity.” Dkt. 493 at 10.
19
            The true facts—which Natera only learned after the Court’s order and which Guardant was
20
     apparently never going to disclose—demonstrate that
21

22
                  As such, the new facts warrant a reconsideration of the Court’s conclusion. Natera
23
     should be given the opportunity to show the jury these facts and why COBRA is relevant to the
24
     CHIP filter issue.
25
            Furthermore, the new facts are material to the SJ Order and demonstrate the conclusion was
26
     incorrect. The issue for trial, based on Natera’s actual statement in its White Paper, is not a binary
27
     question of whether Guardant labeled some part of its software a “CHIP Filter.” The issue—as set
28

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 1 forth in the SJ Order—encompasses the “capabilities” of an alleged CHIP Filter, as well as “how

 2 well it worked”—i.e., does it actually prevent false positives from CHIP mutations. Dkt. 326 at 26.

 3 Indeed, as set forth in the Complaint, Guardant’s litigation position turns on whether the CHIP filter

 4 had 100% performance or not.

 5          In its Complaint (reaffirmed in its final pretrial statement) Guardant linked Natera’s CHIP

 6 filter statements to Guardant’s position that studies show Reveal has “100% specificity.” Dkt. 1

 7 ¶ 32. That is, that Reveal has no false positive results. But the newly uncovered COBRA documents

 8 show Reveal does not have 100% specificity and never did. Guardant told NRG

 9

10                 Ex. 7 (NRG-000122) at -124, -127. Guardant’s complaint alleging falsity of Natera’s
11 statement regarding tumor-naïve assays being unable to filter out biological noise was incorrect.

12 Guardant conceded that

13             —exactly the position set forth in Natera’s White Paper.
14          The relevance to the SJ Order is underscored by the high standard for literal falsity under the
15 Lanham Act. Guardant may argue that Natera implied or stated that Reveal has no CHIP filter

16 whatsoever. That misconstrues what Natera said. First, Natera said that specificity is impacted by

17 biological noise. Second, Natera said that tumor-naïve assays are unable to filter out biological

18 noise. The first statement is undisputed; the second has turned out to be true. To the extent there is

19 any ambiguity in Natera’s statements, that does not meet the test for literal falsity. To be literally

20 false, only unambiguous messages that are demonstrably true or false can be the basis of Lanham

21 Act liability. Design Res., Inc. v. Leather Indus. of Am., 789 F.3d 495, 501-03 (4th Cir. 2015) (citing

22 Novartis Consumer Health, Inc. v. Johnson & Johnson–Merck Consumer Pharm. Co., 290 F.3d 578,

23 586 (3d Cir. 2002)). Natera’s moderate statements within a technical paper pointing out that tumor-

24 naïve tests have an issue identifying CHIP mutations have been fully confirmed by the COBRA

25 NRG documents as well as Guardant’s                                      .

26          There is no longer any genuine issue as to whether Reveal had 100% specificity in 2021;

27 Guardant told

28                                                                  It cannot be literally false advertising

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 1 for Natera to point out in a technical paper that tumor-naïve assays have issues filtering out CHIP

 2 mutations and that biological noise affects specificity. Natera therefore requests leave to renew its

 3 motion for summary judgment on the CHIP filter issue in light of the newly uncovered facts.

 4 II.      NATERA EXERCISED REASONABLE DILIGENCE

 5          Guardant both neglected to produce relevant information and also affirmatively

 6 misrepresented the significance of COBRA. As such, Natera had no way to learn of the new facts

 7 until NRG—a third party—produced its communications with Guardant about its assay results, and

 8 Guardant’s

 9

10          It was Guardant’s obligation to update its interrogatory answer about its software. And it
11 was Guardant’s obligation to produce documents in this case when it was secretly sending material

12 information to NRG as part of the COBRA trial. There was no way for Natera to know these

13 documents existed. Indeed, Guardant insisted that NRG must keep confidential

14                                Ex. 7 (July 26, 2023 letter stating Guardant’s
15 information is                                                    ). And Guardant’s counsel wrote to
16 the Court to assert—falsely—that there was nothing in the COBRA study that bore upon issues

17 related to the existence and performance of the CHIP filter. Dkt. 484. Indeed, in Court hearings,

18 Guardant feigned ignorance about COBRA when in reality newly produced documents show it was

19 closely involved, including

20          . Ex. 9 (NRG-N-001369); Ex. 5 (GHI00063336); Ex. 10 (GHI00063364).

21          NRG produced the key documents in July and August 2024. Ex. 11. In bringing this

22 motion, Natera has moved with reasonable diligence.              Indeed, any delay is the fault of

23 Guardant for not producing the documents itself.

24 III.     GUARDANT’S MISCONDUCT FURTHER SUPPORTS RECONSIDERATION OF
            THE COURT’S PRIOR ORDERS
25
            Guardant knew                                            in ways material to the issues in this
26
     case, and yet sat silent. To explain the poor interim study results, Guardant admitted (in secret) to
27
     NRG that                                            —and 100% specificity is the reason Natera’s
28

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 1 statements about CHIP mutations are allegedly false. Guardant

 2                                                                            —and yet never told Natera

 3 or this Court. These are significant acts of misconduct that if not discovered would have led to a

 4 trial based on false facts. This is compounded by Guardant’s written assertions to this Court that

 5 COBRA was unrelated to CHIP filter issues.

 6          It is fundamentally unfair for Guardant to be able to obtain favorable rulings on COBRA and

 7 its CHIP Filter while withholding critical information. Pumphrey v. K.W. Thompson Tool Co., 62

 8 F.3d 1128, 1133 (9th Cir. 1995) (finding that defendant “undermined the judicial process” through

 9 failure to disclose evidence, affirmatively mischaracterizing evidence relating to certain test results,

10 and letting stand uncorrected “the false impression created by” the witness who performed the tests);

11 Hernandez v. Results Staffing, Inc., 907 F.3d 354, 358-59, 365-66 (5th Cir. 2018) (relief from

12 judgment appropriate after the defendant discovered the plaintiff failed to disclose medical records

13 indicating the plaintiff visited an emergency room primarily because of a headache, rather than a

14 pre-existing back injury as the plaintiff alleged); Canady v. Erbe, 99 F. Supp. 2d 37, 49 (D.D.C.

15 2000) (setting aside summary judgment in a patent action because party failed to disclose “clearly

16 responsive, relevant and non-privileged documents”); Cap Export, LLC v. Zinus, Inc., 996 F.3d

17 1332, 1338-42 (Fed. Cir. 2021) (affirming district court’s decision because “Lawrie, Zinus’s

18 president and expert witness, misrepresented his knowledge of highly material prior art,” this court

19 “properly declined to condone such conduct”). As such, Natera should be permitted to seek

20 reconsideration of both the COBRA order as it relates to CHIP as well as the SJ Order.

21                                             CONCLUSION

22          Natera respectfully requests the Court grant the relief requested herein.

23

24 DATED: August 26, 2024                        QUINN EMANUEL URQUHART &
                                                 SULLIVAN, LLP
25
                                                   By /s/ Andrew J. Bramhall
26
                                                     Andrew J. Bramhall
27                                                   Attorneys for NATERA, INC., a Delaware
                                                     corporation, Defendant and Counterclaim Plaintiff
28

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